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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN
                                            :
Christopher Berg,                           :
                                            :
                                              Civil Action No.: 3:13-cv-00001
                     Plaintiff,             :
       v.                                   :
                                            :
Verizon Wireless; and DOES 1-10, inclusive, :
                                              COMPLAINT AND
                                            :
                                              DEMAND FOR JURY TRIAL
                     Defendants.            :
                                            :
                                            :

       For this Complaint, the Plaintiff, Christopher Berg, by undersigned counsel, states as

follows:


                                          JURISDICTION


       1.       This action arises out of Defendants’ repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

       2.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business here, Plaintiff resides in this judicial district, and a substantial

portion of the acts giving rise to this action occurred here.


                                              PARTIES

       3.       The Plaintiff, Christopher Berg (“Plaintiff”), is an adult individual residing in La

Crosse, La Crosse County, Wisconsin.

       4.       Defendant Verizon Wireless (“Verizon”) is a New York business entity with an

address of 2000 Corporate Drive, Orangeburg, New York 10962.
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       5.      Does 1-10 (the “Agents”) are individual employees/agents employed by Verizon

and whose identities are currently unknown to the Plaintiff. One or more of the Agents may be

joined as parties once their identities are disclosed through discovery.

       6.      Verizon at all times acted by and through one or more of the Agents.


                                                  FACTS


       7.      In or around December, 2012, Verizon began calling Plaintiff on his cellular

phone xxx-xxx-0326.

       8.      At all times mentioned herein, Verizon contacted Plaintiff on his cellular

telephone using an automated telephone dialing system (“ATDS”) and/or by using artificial or

pre-recorded messages.

       9.      Prior to all events hereinafter mentioned, Plaintiff had an existing business

relationship with Verizon and provided his consent for Verizon to contact Plaintiff using ATDS.

       10.     However, during the initial conversation and during all subsequent contacts with

Verizon in December of 2012, Plaintiff revoked his consent to be contacted by means of

automatic telephone calls or prerecorded messages and instructed Verizon to communicate with

Plaintiff via U.S. mail only.

       11.     Thereafter, despite having been so instructed, Verizon continued calling Plaintiff

using ATDS, placing four to five calls per day on a daily basis.

       12.     During one of the conversations, Plaintiff was advised that Verizon could not

remove his number and it was therefore unable to cease contacting him.




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                                               COUNT I

        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        13.       The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        14.       Defendants contacted Plaintiff using an automatic telephone dialing system and/or

by using a prerecorded or artificial message on a cellular telephone of 47 U.S.C. §

227(b)(1)(A)(iii).

        15.       Plaintiff either never provided express consent to Defendant or the Creditor to call

his cellular telephone number, or Plaintiff revoked his consent to be contacted by Defendant on

his cellular telephone by his repeated demands to cease calling his cellular telephone.

        16.       The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        17.       Each of the aforementioned calls made by Defendant constitutes a negligent or

intentional violation of the TCPA, including each of the aforementioned provisions of 47 U.S.C.

§ 227, et. seq.

        18.       As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

        19.       As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).




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                                   PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

              A. Statutory damages of $500.00 for each violation pursuant to 47 U.S.C. §

                 227(b)(3)(B);

              B. Treble damages for each violation determined to be willful or intentional

                 pursuant to 47 U.S.C. § 227(b)(3)(C);

              C. Such other and further relief as may be just and proper.



Dated: January 2, 2013



                                            Respectfully submitted,

                                            By: /s/ Amy L. Cueller

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